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Attorneys for Defendant and Third-Party Plaintiff Rhema Health Products Inc.


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

GARDEN OF LIFE, LLC,

       Plaintiff,
                                                   RHEMA HEALTH PRODUCTS INC’S
v.                                                 MOTION IN LIMINE TO EXCLUDE
                                                  GARDEN OF LIFE’S COMPUTATION
RHEMA HEALTH PRODUCTS INC.,
                                                  OF DAMAGES AND OTHER DAMAGE
       Defendant.                                  EVIDENCE THAT GARDEN OF LIFE
                                                  FAILED TO DISCLOSE AS REQUIRED
                                                  BY RULE 26 AND MEMORANDUM IN
RHEMA HEALTH PRODUCTS INC.,
                                                              SUPPORT
       Third-Party Plaintiff,
                                                        Case No. 2:16-cv-01222-BSJ
v.
                                                           Judge Bruce S. Jenkins
TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

       Third-Party Defendant.




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       Rhema Health Products Inc., through counsel and pursuant to Federal Rules of Civil

Procedure 26 and 37, hereby moves to exclude Garden of Life, LLC’s claim of $6.5 million

“cost of Raw Meal” and $3.75 million “refunds to retailers” damages for failure to provide a

“computation” of those damages or otherwise produce documents supporting the damages before

the close of fact discovery and the deadline for affirmative expert reports.

       GOL was required to provide its computation of damages and documents supporting its

damage claims as part of its initial disclosures more than fifteen months ago. GOL was also

obligated to supplement its deficient disclosures in a timely manner. Despite its obligation and

repeated requests that it provide its computation of damages and documents supporting its

unsupported damage figures, GOL declined to do so. Because the computation and evidence that

might support GOL’s damages was withheld until August 5, 2018, Rhema was unable to conduct

discovery. On August 5, 2018, GOL finally provided its computation of damages and 650 pages

of supporting documents. This supplementation is too little, too late. GOL’s initial disclosures

were due May 25, 2017. The last day to serve written discovery was April 27, 2018. The

window for fact discovery and to disclose affirmative expert reports closed months before.

       GOL’s failure to comply with its disclosure obligations necessitates exclusion of GOL’s

damages claim of $6.5 million “cost of Raw Meal” and $3.75 million “refunds to retailers” as

well as any document, other than GOL00000001- GOL00005906, that may support these claims.

Allowing GOL to supplement with additional documents that should have been provided in its

initial disclosures, more than a year after the Court ordered GOL to make those disclosures

electronically, after the close of fact discovery and after the affirmative expert disclosure

deadline is without justification and would unfairly prejudice Rhema.



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                                 I.        STATEMENT OF FACTS

        1.      Under the Court’s Scheduling Order and Amended Scheduling Order, the

deadline for 26(a)(1) initial disclosures was May 19, 2017. The last day to serve written

discovery was April 27, 2018. The close of fact discovery was June 1, 2018. The deadline for

GOL to disclose its affirmative experts was October 1, 2017. The deadline for GOL to produce

its affirmative expert reports was May 25, 2018. See “Scheduling Order,” ECF 36, filed May 31,

2017, p. 1; “Amended Scheduling Order,” ECF 70, filed November 9, 2017, p. 2.

        2.      As set forth in the Scheduling Order and Amended Scheduling Order, the parties

were ordered to produce electronically stored information “in electronic format with compatible

load files” or, for “[s]pecialized documents not amenable to this format[,] … in their native

format.” Further, the Court ordered the parties to “produce documents in the electronic format of

black and white single page TIFFs, with the file extension .TIF and to name each image “with its

corresponding production number.” Id., p. 2.

        3.      GOL’s May 19, 2017 initial disclosures included damages claims of $6,571,882

for “the cost of the Raw Meal product recalled and destroyed” and of $3,755,186 for “refunds to

retailers for recalled product.” Ex. A, “Garden of Life’s Initial Disclosures Pursuant to Rule

26(a)(1)(A),” served May 19, 2017, p. 5.

        4.      GOL’s initial disclosures did not provide a computation of how GOL arrived at

the $6.5 million figure for recalled and destroyed product or how GOL arrived at the $3.75

million figure for retailer refunds. Id.




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       5.      GOL did not provide a computation of either amount in a supplemental disclosure

during fact discovery or provide additional disclosures of its damage computation or documents

prior to close of fact discovery.

       6.      During discovery, GOL was asked to disclose “all lawsuits and/or complaints

filed by consumers of the contaminated products at issue in this litigation … the claimant’s

name, state of contamination, state of filing, date of filing and disposition” as well as to produce

“all documents related to all lawsuits or complaints filed by consumers….” Ex. B, “Baobab

Foods’ First Set of Interrogatories and Requests for Production of Documents to Plaintiff Garden

of Life,” served January 29, 2018, at interrogatory no. 4 and request for production no. 4.

       7.      Similarly, GOL was asked to list all actions and to produce all documents related

to actions taken by GOL to remedy any of the FDA claims or complaints. Id., at interrogatory no.

7 and request for production no. 7.

       8.      On June 6, 2018, Third-Party Defendant, Tri-ISO Tryline, LLC dba Baobab

Foods (“Baobab Foods”), explicitly asked GOL if it had provided “all documents detailing it

claimed damages,” noting that Baobab had not “see[n] much in the previously produced

documents.” Ex. C, email from Ryan Atkinson to Jeffrey A. Simes, dated June 6, 2018.

       9.      On June 7, 2018, Rhema also asked GOL to confirm that it had provided all

documents supporting its claimed damages. Ex. C, email from Heather Thuet to Jeffrey Simes,

dated June 7, 2018.

       10.     On June 11, 2018, GOL responded to both Baobab Foods and Rhema that “GOL

has provided both a summary and underlying documents concerning its damages.” Ex. D, email

from Jeffrey A. Simes to Heather Thuet, dated June 11, 2018.



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       11.     GOL’s deficient damage disclosure has been raised by Rhema in open court. On

June 22, 2018, Rhema’s counsel stated:

       MS. THUET: Your Honor, as far as damages go, it's our understanding that
       Garden of Life has produced all of the damage documents, including supporting
       documents, it intends to use and rely upon. It would be helpful I think for us, for
       purposes of mediation, to have a clarification set forth that if information has not
       been provided to opposing counsel as to their damages and supporting documents
       by a date certain in advance of the mediation, that that information would be
       precluded from being used at trial. I think that would be very helpful for us to
       have in order to have an efficient and effective mediation.
       THE COURT: Well --
       MR. GLAUSER: We would object to that, Your Honor. I don't think there is
       anything in the rules –
       THE COURT: I will let you folks worry about that. I'm not going to worry about
       that. I can't make a determination as to whether something is useful at trial or not
       until we look at it. But that's a Monday, August 20.

Ex. E, June 22, 2018 Transcript at 6:8-7:5 and 12:22-13:2.

       12.     Further, Rhema’s counsel explained: “frankly, from my client’s standpoint, we

would need a sufficient amount of time from when we receive Garden of Life’s damage

calculation in order to have the ability to have enough information to resolve the case at

mediation, and that has a tendency to take some time.” Id.

       13.     On July 3, 2018, Rhema once again wrote to GOL about its failure to meet its

minimum disclosure obligations, detailing the missing information and documents GOL had

failed to disclose for the amount claimed. Ex. F, July 3, 2018 letter from Heather Thuet to

Jeffrey A. Simes.

       14.     Nearly a month later, GOL responded again asserting it had already provided

Rhema with its calculation and supporting documents. Ex. G, July 27, 2018 letter from Jeffrey

Simes to Heather Thuet.




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       15.     GOL did not designate an expert to support its damage claims. GOL’s only

expert report does not support its damage claims. Ex. H, “Garden of Life, LLC’s rule 26(a)(2)

Expert Witness Disclosure,” served September 29, 2017.

       16.     During the fact-discovery window, GOL produced documents GOL00000001-

GOL00005906.

       17.     On Sunday, August 5, 2018 at 6:57 pm, GOL sent 654 pages of damages

documents including its damage calculations as the last 5 pages; GOL produced these documents

in electronic format. Ex. I, August 5, 2018 email from Amanda Russo (enclosing electronic

copies of documents GOL00005907-6561). Therein, GOL includes the computation of “the cost

of the Raw Meal product recalled and destroyed” and GOL’s computation of “refunds to retailers

for recalled product.” Ex. J, Garden of Life Raw Meal Recall Inventory Disposition Detail by

Item and Lot Number March 2016, GOL00006557 and Ex. K, Garden of Life Recall Returns by

Party by Transaction, GOL00006560.

                                     II.     ARGUMENT

A. GOL failed to support its damages as required under Federal Rule of Civil Procedure
   26(a) because it failed to provide a “computation” of its damages and otherwise failed to
   timely produce the documents supporting its damages claim.

       Rule 26(a) requires a party to provide basic information concerning claimed damages

“without awaiting a discovery request.” FED. R. CIV. P. 26(a). Rule 26(a)(1)(A)(iii) requires more

than providing an amount claimed; it requires the disclosing party to provide a “computation” of

each category of damages and the documents “on which each computation is based.” Id. The

requirement for a computation is to “accelerate the exchange of basic information about the case

and to eliminate the paper work involved in requesting such information, and the rule should be



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applied in a manner to achieve those objectives.” Fed. R. Civ. P. 26, Advisory Committee Notes,

1993 Amendments, Note to Subdivision (a), Paragraph (1). Subparagraph 26(a)(1)(iii) “imposes

a burden of disclosure that includes the functional equivalent of a standing Request for

Production under Rule 34.” Id. As discussed below, GOL failed to comply with these

requirements.

       First, GOL did not provide its damage computation required under Rule 26(a). Rule 26(a)

requires a party to provide a computation of any category of damages voluntarily, i.e. “without

awaiting a discovery request.” See Design Strategy, Inc. v. Davis, 469 F.3d 284, 295-96 (2d Cir.

2006). Rule 26(a) requires more than providing a dollar figure; it requires a “computation”

supported by documents. Id. As the seminal case City & Cty. of S.F. v. Tutor-Saliba Corp.

explains, simply identifying a lump-sum number does not suffice; the disclosing party must show

its work: “the ‘computation’ of damages required by [Rule26(a)(1)(A)(iii)] contemplates some

analysis; for instance, in a claim for lost wages, there should be some information relating to

hours worked and pay rate.” 218 F.R.D. 219, 221 (N.D. Cal. 2003). GOL’s assertion that it has

provided both a summary and underlying documents concerning its damages is insufficient – but

is one to which it is now bound.

       For example, GOL claimed the cost of Raw Meal product totals $6.5 million but failed to

state how it arrived at that total. Similarly, GOL claimed refunds totaling $3.75 million but

failed to explain how it arrived at that number. GOL did not provide the basic elements of a

computation: GOL did not provide an integer or per unit: it did not show how it arrived at the

numbers. A conclusory dollar figure is not a computation.




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       Based on the damages GOL is claiming, one would expect to see at the minimum the

following: (1) a detailed listing of the quantity of product along with a detailed listing of the

costs of each product (e.g. 1000 units of vanilla at $9 per unit; 500 units of chocolate at ($9.30

per unit); (2) accounting spreadsheet showing refunds to retailers and copies of all credit memos

issued by GOL to retailers; (3) copies of invoices of all external costs incurred; (4) detailed

calculations of internal administrative cost incurred; (5) accounting spreadsheet of medical

settlements; and (6) any additional documentation that details the above computations.

       Second, GOL did not provide the documentation to support its damage computation

required under Rule 26(a)- until after the fact and expert windows had been closed for months.

As mandated by the Court, GOL was required to provide its initial disclosures by May 19, 2017

and was required to produce any documents stored electronically “in electronic format.” ECF 70

at p. 2. GOL did not provide any damage documentation with its initial disclosures, nor did

GOL attempt to reasonably supplement its initial disclosures during discovery. GOL violated

Rule 26(e), which requires timely supplementation of initial disclosures and discovery responses,

because Rhema and Baobab Foods repeatedly reminded GOL it had failed to provide

computations and documentation to support its claim for damages in its initial disclosures. When

GOL belatedly dumped 654 pages of damages documents on Rhema on August 5, 2018, the

documents were in electronic format. Any claim by GOL that it was not required to produce

documents supporting its claims for damages in electronic format runs afoul of this Courts’ clear

mandate.

       Rhema had a right to know from the outset how much GOL thought Rhema had damaged

it and how it arrived at that number and the supporting documents. GOL was required to provide



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its computation and produce any supporting documents in electronic format by May 19, 2017.

GOL has no basis to withhold its computation or documents. GOL’s failure to provide Rhema

with a computation of its claimed damages and to produce in electronic format the documents on

which that computation violates not only the requirements of rule 26(a)(1)(A)(iii) but also the

Court’s scheduling orders.

   B. The Court should sanction GOL under Federal Rule of Civil Procedure 37 because
      GOL’s failure to provide a computation of its damages and to timely provide the
      documents supporting its damages was prejudicial.

       Rule 37 dictates that “[i]f a party fails to provide information or identify a witness as

required by Rule 26(a) or (e), the party is not allowed to use that information or witness to

supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

justified or is harmless.” FED. R. CIV. P. 37(c)(1). As discussed above Rule 26(a) requires a

party provide a computation of damages and to support the computation with documents. FED. R.

CIV. P. 26(a)(1)(A)(iii). Rule 26(e)(1)(A) requires disclosing parties to supplement their prior

disclosures “in a timely manner” when the prior response is “incomplete or incorrect.” FED. R.

CIV. P. 26(e)(1)(A).

       “Rule 37(c)(1) gives teeth to these requirements by forbidding the use at trial of any

information required to be disclosed by Rule 26(a) that is not properly disclosed.” Yeti by Molly,

Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001). Moreover, Rule 37 is clear

that a party is not allowed to use undisclosed evidence in a motion or at a hearing. The exclusion

of evidence not disclosed is mandatory unless the offering party can prove its failure to disclose

was substantially justified or harmless. Id.

       1. GOL’s deficient disclosures prejudiced Rhema.



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          Any efforts by GOL to introduce a calculation of its $6.5 million “cost of Raw Meal” or

$3.75 million “refunds to retailers” or any document that may support its damages, other than

GOL00000001-GOL00005906, that was not disclosed with its initial disclosures or during fact

discovery must be excluded as GOL’s failure to produce was not harmless.

          Any additional information GOL seeks to offer now causes unfair prejudice to Rhema.

GOL has only provided unexplained totals of the claimed cost of Raw Meal and refunds. Rule

1006 of the Federal Rules of Evidence clearly requires the proponent of any summary to make

available the documents used in preparation of that summary. Fed. R. Evid. 1006. The Court’s

Scheduling Order required documents to be produced in electronic format. GOL has not made a

computation, summary or electronic documents available. Evidence of cost of Raw Meal product

and refunds to retailers for recalled product are essential to proving these damages. The fact

discovery deadline has passed. Rhema is left without the opportunity to review the records,

depose witness or obtain an expert to review. The prejudice to Rhema of learning the basic

computations and information that GOL was Court ordered to provide in May 2017 after the

close of fact and affirmative experts would be severe at this point in litigation, particularly where

GOL has insisted not only that it has produced everything but also that the pretrial hearing not be

stayed.

          2. GOL’s withholding is not substantially justified

          Courts in this district have sanctioned parties for refusing to produce a damage disclosure

prior to the commencement of expert discovery. Garth O. Green Enters. v. Harward, 2018 U.S.

Dist. LEXIS 15191, at **10-20. The continued attempt to delay damages discovery until late in




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the case runs expressly counter to Rule 1 and Rule 26, and courts in this district will continue to

sanction parties who take this position. Id.

       Documentation to support GOL damages claim was not provided in GOL’s May 2017

initial disclosures, or in a supplemental disclosure, or in response to discovery requests. At the

close of fact discovery and after affirmative experts have been designated and reports provided,

GOL has been given ample time to provide the required disclosure documents. Additionally, as

stated above, Rhema and Baobab Foods specifically advised GOL that it had failed to meet its

basic disclosure obligations as to its calculation of damages and failure to produce supporting

documents on multiple occasions. GOL steadfastly declined to supplement by providing

computation or producing any further documentation to support its damages. At this point, it is

too late. GOL’s refusal to disclose and comply with this Court’s Order is not justified.

                                      III.     CONCLUSION

       For the foregoing reasons, Rhema requests that the Court sanction GOL by excluding

evidence regarding GOL’s claim of $6,571,882 for “cost of Raw Meal” and GOL’s claim of

$3,755,186 for refunds to retailers. Additionally, Rhema requests that the Court preclude GOL

from using any document other than GOL00000001-GOL00005906 to prove its damages at trial

or on a motion.

       DATED: 20 August 2018

                                                      CHRISTENSEN & JENSEN, P.C.

                                                      /s/ Heather L. Thuet
                                                      Heather L. Thuet
                                                      Bryson R. Brown
                                                      Attorneys for Defendant and Third-Party
                                                      Plaintiff Rhema Health Products Inc.



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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of August, 2018, the foregoing RHEMA HEALTH
PRODUCTS, INC’S MOTION IN LIMINE TO EXCLUDE GARDEN OF LIFE’S
COMPUTATION OF DAMAGES AND OTHER DAMAGE EVIDENCE THAT
GARDEN OF LIFE FAILED TO DISCLOSE AS REQUIRED BY RULE 26 AND
MEMORANDUM IN SUPPORT was filed electronically utilizing the CM/ECF system which
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